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                      UNITED STATES DISTRICT COURT
                      SOUTHERN DISTRICT OF INDIANA
                          INDIANAPOLIS DIVISION

 MARY J. FREDERICK; JOHN                     )
 JUSTIN COLLIER; WILLIAM L.                  )
 MARKS, JR.; MINNIE LEE CLARK;               )
 and COMMON CAUSE INDIANA,                   )
                                             )
               Plaintiffs,                   )
                                             )
       -v-                                   ) Case No. 1:19-cv-1959-SEB-MJD
                                             )
 CONNIE LAWSON, in her official              )
 capacity as Secretary of State;             )
 ST. JOSEPH COUNTY ELECTION                  )
 BOARD; and                                  )
 M. CATHERINE FANELLO, RITA                  )
 L. GLENN, and MURRAY WINN,                  )
 each in their official and individual       )
 capacities as members                       )
 of the St. Joseph County Election           )
 Board,                                      )
                                             )
               Defendants.                   )

                   AMENDED CLASS ACTION COMPLAINT

       Come now Plaintiffs, by counsel, and pursuant to Rule 15(a)(1)(B) of the

 Federal Rules of Civil Procedure and S.D. Ind. L.R. 7-1(c)(2), hereby amend their

 Complaint as follows:

                     BACKGROUND/NATURE OF THE CASE

       1.     Under current Indiana law, a voter who is otherwise qualified to vote

 is entitled to vote in-person by absentee ballot in the office of the circuit court clerk


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 or at a satellite office established under Indiana Code § 3-11-10-26.3. In addition, a

 voter who satisfies any of the conditions set forth in IC § 3-11-10-24, including but

 not limited to being an elderly or disabled voter, a member of the military, a person

 whose work obligations prevent him from voting while the polls are open, or a

 public safety officer, is entitled to vote by mail-in absentee ballot.

       2.     Upon receipt of a mail-in absentee ballot, a county election board or

 absentee voter board in the office of the clerk of the circuit court is required by

 Indiana law to “immediately examine the signature of the absentee voter to

 determine its genuineness.” IC §§ 3-11-10-4(a), 3-11.5-4-4. This must be done by

 “compar[ing] the signature as it appears upon the envelope containing the absentee

 ballot with the signature of the voter as it appears upon the application for the

 absentee ballot…[or] with any other admittedly genuine signature of the voter.” IC

 § 3-11-10-4(b).

       3.     Under Indiana law effective through July 1, 2019, in a county which

 did not count absentee ballots at a central location, if a member of the absentee

 voter board questioned whether a signature on a ballot envelope was genuine, the

 matter was referred to the county election board for consideration under section 5.

 IC § 3-11-10-4(d) (repealed effective July 1, 2019, by P.L. 278). If the county

 election board unanimously found that the signature on a ballot envelope or

 transmitted affidavit was not genuine, the board was required to write on the


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 envelope: “The county election board has questioned the genuineness of the

 signature of this voter.” IC § 3-11-10-5. The ballot was then not counted in the

 final tallies.

        4.        Effective July 1, 2019, the Indiana Legislature, by P.L. 278, has

 required that all counties count absentee ballots at a central location. It accordingly

 repealed most of the provisions of IC §§ 3-11-10 which formerly dealt with

 perceived mismatched signatures with respect to absentee ballots counted in the

 precincts.

        5.        In St. Joseph County and other counties that count mail-in absentee

 ballots at a central location, if the absentee ballot counters appointed by the county

 election board pursuant to IC § 3-11.5-4-22 determine that the signatures on the

 absentee ballot envelope “do not correspond” with the signature on the application,

 the ballot “shall be rejected.” IC § 3-11.5-4-13(a)(2). If the absentee ballot counters

 are unable to agree whether or not a voter’s signature is genuine, the matter is

 referred to the county election board. IC § 3-11.5-4-13(e). If the county election

 board finds that the signature on a ballot envelope or transmitted affidavit is not

 genuine, the board must write on the envelope the words: “The county election

 board has rejected this ballot because the signature of this voter is not genuine.” IC

 § 3-11.5-4-4. That ballot is then not included in final election tallies.




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       6.     Though Indiana law, IC § 3-11.5-4-13(f), requires absentee ballot

 counters or the county election board to issue a certificate to a voter whose ballot

 has been rejected under this section, this certificate is issued only if the voter

 appears in person before the election board not later than 5:00 p.m. on election day.

       7.     However, since Indiana law does not require notice to voters whose

 signatures are perceived not to match under IC § 3-11.5-4-13(a)(2), the voter is

 unaware that his absentee ballot has been rejected.

       8.     Thus, a voter who cast a mail-in absentee ballot has no realistic

 opportunity to cure the rejection of their absentee ballot.

       9.     For example, there is no opportunity afforded the voter to validate as

 genuine the signature on their absentee ballot envelope. The voter is not notified

 of the rejection, much less given an opportunity to explain why the ballot should

 not be rejected.

       10.    A determination by a county election board or a bipartisan team of

 absentee ballot counters not to count a voter’s mail-in absentee ballot is final and

 unreviewable, and the voter whose absentee ballot is invalidated is not informed

 that his or her ballot has been rejected.

       11.    The above-described procedures resulted in several hundred and

 possibly more than a thousand mail-in absentee ballots submitted in the 2018




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 general election by Indiana voters not being counted without any notification to the

 voter or opportunity to cure a perceived signature mismatch.

       12.    Indiana law contains no standards or criteria absentee ballot counters

 or members of county election boards are instructed to use in determining whether

 a signature is “genuine.”

       13.    Indiana and county election boards offer no training to absentee ballot

 counters or members of county election boards in handwriting analysis.

       14.    Absentee ballot counters and members of county election boards are

 not experts in handwriting analysis and cannot make an accurate and reliable

 determination whether a voter’s signature is “genuine.”

       15.    A person’s signature may vary for a variety of reasons, including age,

 physical and mental conditions, disability, medication, stress, accidents, and

 inherent differences in a person’s neuromuscular coordination.

       16.    Such variations are more prevalent among the elderly, the disabled, or

 those who speak English as a second language.

       17.     Indiana’s statutory signature-matching requirements violate due

 process in that the voter is given no written or oral notice that his or her ballot has

 been rejected due to a signature mismatch, and thus is given no opportunity to

 challenge the decision to reject their absentee ballot.




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       18.    Indiana’s process of determining whether a voter’s signature is

 “genuine” is fraught with error and inconsistent application.

       19.    Neither Indiana nor county election boards has not promulgated

 objective and reliable rules or standards for determining whether a voter’s

 signature is “genuine.”

       20.    The lack of standards, together with the unreviewable discretion

 imparted by Indiana law to absentee ballot counters and members of county

 election boards, results in significantly different rates between counties of absentee

 ballots rejected due to perceived signature mismatches.

       21.    For example, approximately 45 Hamilton County absentee ballots

 were invalidated due to signature mismatches, 39 in St. Joseph County, 13 in

 Elkhart County, 13 in Madison County, and zero in Boone, Porter, Bartholomew,

 Delaware, Floyd, Monroe, and Vanderburgh Counties.

       22.    The right to vote is fundamental under the United States Constitution.

       23.    There are already processes in place that provide at least some

 semblance of due process for other voters whose ballot is questioned.

       24.    For example, a voter who is unable or unwilling to present proof of

 identification, or whose provided identification does not qualify under IC § 3-5-2-

 40.5, must be offered and permitted to cast a provisional ballot, which the voter has

 ten (10) days to validate. IC §§ 3-11-10-26(l); 3-11.7-5-2.5(a).


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       25.    No due process is available to a voter who submits an absentee ballot

 by mail that is improperly rejected due to a perceived signature mismatch.

       26.    It would not be administratively burdensome to notify a voter whose

 absentee ballot has been rejected due to a perceived signature mismatch and give

 that voter an opportunity to show cause why the ballot should not be rejected.

                           JURISDICTION AND VENUE

       27.    This is a civil and constitutional rights action arising under 42 U.S.C.

 § 1983 and the Fourteenth Amendment to the United States Constitution. This

 Court has jurisdiction under 28 U.S.C. §§ 1331 and 1343.

       28.    Venue in this Court is proper under 28 U.S.C. § 1391 because

 Defendant Secretary of State Lawson is located within and conducts official

 business in this district and division.

       29.    Declaratory relief is authorized by Rule 57 of the Federal Rules of

 Civil Procedure and 28 U.S.C. §§ 2201 and 2202.

                                       PARTIES

       30.    Plaintiff Mary J. Frederick is a 69-year old registered voter in St.

 Joseph County who has lived in the same home for forty (40) years. She submitted

 an absentee ballot by mail in the November 6, 2018 general election because

 medical problems, including Parkinson’s Disease, limit her mobility. She was

 never informed by election officials that her ballot was rejected due to a


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 determination by election officials that her signatures did not match. Because of

 her Parkinson’s, her signature becomes increasingly illegible as the day goes on,

 although her signature has never been questioned by her bank or anyone else. Had

 she been notified that her signature was being questioned by election officials and

 been given an opportunity to do so, she would have validated that the signature on

 the absentee ballot security envelope containing her absentee ballot was in fact

 hers.

         31.   Plaintiff John Justin Collier is a registered voter in St. Joseph County

 who has lived at the same address for fourteen (14) years. Although in the past he

 had voted in person, his work schedule and commitments were such that he was

 required to submit an absentee ballot by mail in the November 6, 2018 election. He

 was never informed by election officials that his ballot was rejected due to a

 determination by election officials that his signatures did not match. Had he been

 notified that his signature was being questioned by election officials and given an

 opportunity, he would have validated that the signature on the absentee ballot

 security envelope containing his absentee ballot was in fact his.

         32.   Plaintiff William L. Marks, Jr., is a 68-year old registered voter in St.

 Joseph County and a retired public school teacher who until moving after the last

 election had lived at the same address since 1983. Although in the past he had

 voted in person, he voted by mail-in absentee ballot for the first time in the


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 November 6, 2018 general election. He was never informed by election officials

 that his absentee ballot was rejected due to a determination that his signature was

 inauthentic. Had he been notified that his signature was being questioned by

 election officials and given an opportunity to do so, he would have validated that

 the signature on the absentee ballot security envelope containing his absentee

 ballot was in fact his.

       33.    Plaintiff Minnie Lee Clark is a registered voter in St. Joseph County

 who lives in a senior living community in South Bend. Although she has long been

 active in politics, and during her younger years she regularly worked at the polls, at

 99 years of age she has become infirm and thus decided to vote by absentee ballot

 in person before an absentee voter board in the November 6, 2018 election. Even

 though she signed in front of a traveling absentee voter board, her absentee ballot

 was rejected because election officials decided that her signatures did not match.

       34.    Plaintiff Common Cause Indiana has long worked to expand voter

 registration and equal access to voting. Common Cause Indiana has approximately

 13,000 members who live and vote throughout the State of Indiana, many of whom

 vote, or are statutorily entitled to vote, by mail-in absentee ballot and whose ballot

 to be cast in future elections is at peril of being rejected by election officials

 without notice or due process as a result of a perceived signature mismatch.




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       35.    Defendant Connie Lawson is the Indiana Secretary of State and in that

 capacity is the chief election official of the State, with her primary office in this

 judicial district. IC § 3-6-3.7-1. She is charged with performing all ministerial

 duties related to the administration of elections by the state of Indiana. IC § 3-6-

 4.2-2(a). She is also responsible for enforcing and implementing Indiana’s election

 laws and routinely issues guidance to county election officials in each of Indiana’s

 92 counties through her appointees to the Indiana Election Division and via the

 Indiana Election Administrator’s Manual, the latest edition of which can be

 accessed at this link:

 https://www.in.gov/sos/elections/files/2019%20Election%20Administrator%27s%

 20Manual%20Feb%2013%20revision.Final%20edits.pdf She is sued in her

 official capacity.

       36.    Defendants M. Catherine Fanello, Rita L. Glenn, and Murray Winn,

 are members of the St. Joseph County Election Board, which is comprised of the

 circuit court clerk and two persons appointed by the circuit court clerk, one from

 each of the two major political parties. IC § 3-6-5-2. Fanello, Glenn, and Winn are

 each sued in her or his official and individual capacities.

       37.    The St. Joseph County Election Board is a county election board duly

 constituted pursuant to IC § 3-6-5-1. The St. Joseph County Election Board is

 sued pursuant to Monell v. Dep’t of Social Services of the City of New York, et al.,


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 436 U.S. 658 (1978), for the manner in which it implements the policies, customs

 or practices at issue in this action; and/or the failure to train absentee ballot

 counters and/or Election Board Members with respect to determining the

 genuineness of signatures; and because the Board has a policy or practice of not

 notifying voters who mail in their absentee ballot that their ballot is suspected of

 being fraudulent because of a perceived signature mismatch. (St. Joseph County

 Election Board and Defendants Fanello, Glenn and Winn are herein collectively

 referred to as the “County Defendants.”)

                 DEFENDANT CLASS ACTION ALLEGATIONS

       38.    Certifying a defendant class action is unnecessary because an order

 enjoining the Secretary of State Lawson will have the effect of enjoining all 92

 county election boards and their appointees, and the Secretary of State’s office

 routinely issues guidance to county election officials statewide, who follow her

 office’s guidance, and will conform that advice should this Court determine that

 Indiana’s signature matching procedures violate the Fourteenth Amendment.

       39.    Nevertheless, to the extent the Court were to deem it necessary to join

 all the county election boards in all 92 of Indiana’s counties, Plaintiffs seek

 certification of a defendant class of all 92 county election boards, with the St.

 Joseph County Election Board as the defendant class representative, pursuant to

 Federal Rules of Civil Procedure 23(a) and 23(b)(1) or (b)(3).


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       40.    Joinder would be impracticable because there are 92 county election

 boards, each of which will share a common set of defenses. Because they are doing

 what the statutes require as explained to them by Secretary Lawson, and not more,

 their defenses will not vary based on individual facts. For the same reasons, the

 defenses of the proposed defendant class representative will be typical of those of

 the other county election boards. The St. Joseph County Election Board will be an

 adequate representative of the defendant class.

       41.    The defendant class should be certified because “prosecuting separate

 actions by or against individual class members would create a risk of

 …inconsistent or varying adjudications with respect to individual class members

 that would establish incompatible standards of conduct for the party opposing the

 class.” Fed. R. Civ. P. 23(b)(1)(A). Filing 92 separate, identical lawsuits could

 result in incompatible standards of conduct throughout Indiana and would be a

 waste of judicial and governmental resources.

       42.    The defendant class may also be certified because “the questions of

 law or fact common to the class members predominate over any questions

 affecting only individual members, and …a class action is superior to other

 available methods for fairly and efficiently adjudicating the controversy.” Fed. R.

 Civ. P. 23(b)(3). The questions of law or fact not only predominate, they constitute

 the only question that are at the center of this lawsuit, which is whether the Indiana


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 statutes requiring county election officials and their designees to match signatures

 and invalidate mail-in absentee ballots based on a subjective determination that the

 voter’s signatures do not match, without notification to the voter whose absentee

 ballot has been rejected, violate the due process and equal protection clauses of the

 Fourteenth Amendment, both on their face and as applied to the individual

 Plaintiffs.

                                CAUSES OF ACTION

                    COUNT I — DENIAL OF DUE PROCESS
                       AGAINST ALL DEFENDANTS

         43.   Plaintiffs reallege and incorporate by reference the allegations

 contained in the preceding paragraphs.

         44.   Section 1 of the Fourteenth Amendment to the United States

 Constitution prohibits the states from depriving “any person of …liberty…without

 due process of law.” This due process principle protects the fundamental right to

 vote.

         45.   By mandating the unilateral and unreviewable rejection of mail-in

 absentee ballots due to an alleged signature mismatch without according pre-

 rejection notice or an opportunity to be heard and to cure, IC §§ 3-11-10-4, and 3-

 11.5-4-4 and -13(a)(2), both on their face and as they have been applied to the

 individual Plaintiffs, violate the Due Process Clause of the Fourteenth Amendment



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 by depriving them and other similarly situated voters of their right to vote without

 due process of law.

       46.    Defendant Lawson has not established a procedure for providing pre-

 rejection notice to an absentee voter whose ballot has been rejected on the grounds

 his signature was deemed not to be “genuine.”

       47.    County Defendants have taken no steps to affirmatively train absentee

 ballot counters to make accurate signature comparisons.

       48.    Despite the fact that a court-appointed recount commission

 determined that several absentee ballots had been improperly rejected in the May

 2018 primary election, the St. Joseph County Election Board made a conscious

 choice not to provide appropriate training to absentee ballot counters to determine

 the genuineness of signatures.

       49.    Signature comparisons made by people who are untrained are known

 to be highly unreliable and carry a high risk of false negatives.

       50.    False negatives in signature comparisons were most recently

 demonstrated in a recount conducted following the primary election in May, 2018,

 when approximately 15 absentee ballots cast in the Democratic Party primary for

 Sheriff that had been initially rejected by St. Joseph County election officials due

 to perceived signature mismatches were subsequently determined by a court-




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 appointed recount commission to have been improperly rejected and ordered

 opened and counted.

       51.    Notice and an opportunity to be heard and to cure are already

 provided to other voters, such as those voters who are unable or unwilling to

 present proof of identification, or whose identification does not qualify under IC §

 3-5-2-40.5, who must be permitted to cast an absentee ballot which shall be treated

 as a provisional ballot, and which the voter has 10 days to validate. IC §§ 3-11-10-

 26(l); 3-11.7-5-2.5(a).

       52.     It would not be unreasonably burdensome to apply similar procedures

 to notify mail-in absentee voters whose signatures have been questioned and

 provide them an opportunity to validate their signature so as to avoid being

 disenfranchised, such as by granting the opportunity to voters whose ballot is

 rejected for a purported signature mismatch to cure by attesting in person or by

 affidavit as to their identity and that they in fact cast the absentee ballot that was

 rejected.

       53.    County Defendants have taken no steps to affirmatively provide mail-

 in absentee voters whose signatures have been questioned with any due process,

 opportunity to be heard or to cure.

       54.    Even though it had actual or constructive knowledge that absentee

 ballot counters it appoints will probably violate voters’ constitutional rights, the St.


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 Joseph County Election Board adopted a policy of inaction, and it continues to

 have a custom or practice of not providing due process to mail-in absentee voters

 whose signatures have been questioned.

       55.    Because voting is a fundamental right, the risk that even one person

 will be disenfranchised because a signature is wrongly determined not to be

 genuine is too significant for Indiana to justify depriving absentee voters whose

 ballot is rejected due to a perceived signature mismatch of some form of pre-

 rejection notice and opportunity to be heard.

       56.    This challenge is both facial and as applied.

                COUNT II - DENIAL OF EQUAL PROTECTION
                  AGAINST DEFENDANT LAWSON ONLY

       57.    Plaintiffs reallege and incorporate by reference the allegations

 contained in the preceding paragraphs.

       58.    The Fourteenth Amendment to the United States Constitution protects

 the fundamental right to vote. The State may not infringe upon or abridge the right

 to vote without adequate justification. The greater the magnitude of the

 infringement, the stronger the State’s justification must be.

       59.    The application of I.C. §§ 3-11-10-4 and 3-11.5-4-4 and -13(a)(2) has

 disenfranchised the individual Plaintiffs and many other absentee voters who

 submitted an absentee ballot by mail.



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       60.    Being disenfranchised is a burden that on its face is severe, especially

 in the absence any due process protections to resolve the perceived signature

 mismatch.

       61.    The collective burdens imposed by these laws are severe.

       62.    The Equal Protection Clause of the Fourteenth Amendment prohibits

 Defendant Lawson from burdening the exercise of the right to vote by applying

 facially-neutral laws in an arbitrary or inconsistent manner.

       63.    Election officials from one county to the next interpret and apply the

 signature matching statutes arbitrarily and inconsistently.

       64.    Some, such as in St. Joseph and Hamilton Counties, apply those laws

 strictly and reject a large number of mail-in absentee ballots based on perceived

 signature mismatches, while those in other counties apply these laws loosely and

 forgivingly and reject few if any mail-in absentee ballots due to a perceived

 signature mismatch.

       65.    The arbitrary and inconsistent application of these statutes by county

 election officials has and is likely to continue to disproportionately disenfranchise

 voters who are elderly, disabled, or of limited economic means.

                              PRAYER FOR RELIEF

       WHEREFORE, Plaintiffs demand the following:




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       A)     That this Court issue a judgment declaring that I.C. §§ 3-11-10-4; and

 3-11.5-4-4 and -13(a)(2) on their face and as applied to the individual Plaintiffs

 violate the Fourteenth Amendment because they deny notice and an opportunity to

 be heard after election officials have determined the signature on the envelope

 containing their absentee ballot not to be “genuine,” and because they are enforced

 arbitrarily and inconsistently from one Indiana county to another;

       B)     That this Court issue a preliminary and permanent injunction

 enjoining Defendants and all those acting in concert with them from enforcing

 these statutes in rejecting absentee ballots based solely on a perceived signature

 mismatch in future federal elections;

       C)     That Plaintiffs be awarded money damages from the Defendants who

 are being sued in their individual capacities and the St. Joseph County Election

 Board;

       D)     That Plaintiffs be awarded their attorneys’ fees and costs under 42

 U.S.C. § 1988;

       E)     That a jury trial be had on all issues triable to a jury; and

       F)     That the Court award any additional or alternative relief as may be

 deemed appropriate under the circumstances.




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                                            Respectfully submitted,

                                            /s/William R. Groth
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